Case 1:18-cr-00050-TSK-MJA Document 129 Filed 10/23/19 Page 1 of 1 PageID #: 468




                        IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF WEST VIRGINIA

    In re:          United States v. Seddrick Banks
                    Criminal No. 1: 18CR50-3 (Traci M. Cook)
                    Clarksburg, West Virginia
                    November 20, 2019, at 10:00 a.m.

                                                 ORDER

             This day came the United States of America by William J. Powell, United States Attorney

    for the Northern Judicial District of West Virginia, and presented to the Court and asked leave to

    file its Petition praying for a Writ of Habeas Corpus ad Prosequendum for SEDDRICK BANKS,

    defendant herein, which Petition is hereby

             ORDERED filed and the Clerk of this Court is hereby directed to issue the said Writ in

    accordance with the prayer thereof.

             DATED:   ______________
